  Case 1:12-cv-02620-LTB Document 39 Filed 04/24/17 USDC Colorado Page 1 of 2

Appellate Case: 14-1417      Document: 01019798986         Date Filed: 04/24/2017      Page: 1
                                                                                         FILED
                                                                             United States Court of Appeals
                         UNITED STATES COURT OF APPEALS                              Tenth Circuit

                               FOR THE TENTH CIRCUIT                                 April 24, 2017
                           _________________________________
                                                                                 Elisabeth A. Shumaker
                                                                                     Clerk of Court
  ENDREW F., a minor, by and through his
  parents and next friends, JOSEPH F.;
  JENNIFER F.,

        Plaintiffs - Appellants,
                                                                 No. 14-1417
  v.                                                    (D.C. No. 1:12-CV-02620-LTB)
                                                                   (D. Colo.)
  DOUGLAS COUNTY SCHOOL
  DISTRICT RE-1,

        Defendant - Appellee.
                        _________________________________

                                        ORDER
                           _________________________________

  Before TYMKOVICH, Chief Judge, HARTZ, and PHILLIPS, Circuit Judges.
                   _________________________________

         The Supreme Court of the United States entered a judgment on March 21, 2017

  reversing the judgment of this court and remanding the cause for further proceedings.

         Upon further consideration, the mandate issued to the United States District Court

  for the District of Colorado on October 2, 2015 is recalled and the judgment of this court

  filed August 25, 2015 is vacated.

         Counsel will be notified if this court desires further briefing prior to disposition of
  Case 1:12-cv-02620-LTB Document 39 Filed 04/24/17 USDC Colorado Page 2 of 2

Appellate Case: 14-1417      Document: 01019798986   Date Filed: 04/24/2017   Page: 2


  this appeal upon remand.


                                            Entered for the Court



                                            ELISABETH A. SHUMAKER, Clerk




                                           2
